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                                                                             FILED11 DEC:'18 9 :34JJSDC-ORP
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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION



UNITED STATES OF AMERICA,                                 Case No. 3:18-CR-00319-JO-2

                              Plaintiff,                 MOTION TO WITHDRAW
                                                         DEFENDANT'S MOTION TO
                                                         COMPEL INFORMANTS

                       v.

EARL D. FISHER,

                              Defendant.

                                            MOTION

       COMES NOW, the defendant, Earl D. Fisher, by and through his attorney, Ernest

Warren, Jr., and moves the Court for an order allowing the defendant to withdraw his motion to

compel informants.

       The parties have conferred with the government by and through AUSA Leah Bolstad and

will work to determine a reasonable time before trial for disclosure of informants and their

statements.

DATED THIS 11 dayofDecember2018
                                                            ls/Ernest Warren, Jr.
                                                            Ernest Warren, Jr. OSB No. 891384
                                                            Attorney for defendant
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                                 CERTIFICATE OF SERVICE
       I hereby certify that I have served the MOTION TO WITHDRAW DEFENDANT'S

MOTION TO COMPEL INFORMANTS in the attached matter upon the parties listed below

by notice of electronic filing using the CM/ECF System as follows:

Leak K. Bolstad
U.S. Attorney's Office
District of Oregon
1000 S.W. Third Avenue
Suite 600
Portland, OR 97204
503-727-1125
Fax: 503-727-1117


and filed the original with the Court on the date listed below.




DATED this 11 th day of December, 2018.

                                              WARREN & SUGARMAN


                                              ISi Ernest Warren, Jr.


                                              Ernest Warren, Jr. OSB No. 891384
                                              Attorney for defendant
